                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              BEAUMONT DIVISION

 PETER HARRIS AND                       §
 LONI HARRIS,                           §
                                        §
       Plaintiffs,                      §
                                        §
 VS.                                    §   CIVIL ACTION NO. 1:24-CV-00313
                                        §    JUDGE MICHAEL J. TRUNCALE
 UPWINTRADE.COM, et al,                 §
                                        §
       Defendants.                      §
                                        §

  ORDER GRANTING PLAINTIFFS’ EMERGENCY MOTION FOR
     EXTENSION OF TEMPORARY RESTRAINING ORDER

       Before the Court is an Emergency Motion to Extend Temporary

Restraining Order (“TRO”) submitted by Plaintiffs Peter and Loni Harris. On

August 8, 2024, the Court granted Plaintiffs’ request for a 14-day TRO

freezing accounts at four cryptocurrency exchanges to which Plaintiffs allege

they have traced their stolen assets. If not extended, the TRO will expire on

August 22, 2024.

       In the instant Motion, Plaintiffs report that (i) two of the four

exchanges on which they have served the TRO appear to have complied with

the freezing order, (ii) one other exchange has insisted on being served

abroad, and (iii) another exchange has not responded to Plaintiffs’ counsel’s

attempts to communicate. As to the two exchanges that appear to have

complied with the freezing order, Plaintiffs report that the scope of the freezes




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implemented remains unclear and is the subject of ongoing discussions

between their counsel and the exchanges’ representatives.

      Plaintiffs further report that they served the expedited discovery

authorized by the Court on each of the exchanges along with the TRO. Their

counsel continues to work with the exchanges’ representatives to secure

production of responsive materials. Counsel will also attempt to initiate

discussions with the non-responsive exchange by alternate channels of

communication.

      Plaintiffs request a 14-day extension of the TRO in order to allow them

to continue to work through and resolve these issues with the exchanges.

They argue that they should be given additional time to secure information

from the exchanges and implement the account freezes, noting that these

efforts will pave the way for their forthcoming motion for a preliminary

injunction and service on the Defendants.

      The Court agrees. Federal Rule of Civil Procedure 65(b)(2) provides for

extension of a temporary restraining order “for good cause.” Plaintiffs have

shown good cause due to the difficulty of serving and communicating with the

exchanges and the need to obtain discovery regarding the Defendants to give

them notice of this suit, the TRO, and Plaintiffs’ forthcoming motion for a

preliminary injunction. Accordingly, the Court GRANTS the motion and

EXTENDS the TRO. The TRO will expire on September 5, 2024.




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      As required by Federal Rule of Civil Procedure 65(b)(3), the Court will

set Plaintiffs’ motion for a preliminary injunction for hearing “at the earliest

possible time.” If Plaintiffs choose not to proceed with a motion for a

preliminary injunction, the TRO will dissolve as per the terms of this Order

on September 5, 2024.




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Dated: August 21, 2024         Prepared By:

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